 

— PR case 2:05-or-01046-Peggdocument 4 Filed 10/26/05 @ 1 Page ID #:12

Memorandum

Ce 05-/0¥h

RE: U.S. v. Pra thors Pell icone eh oA.

Subject

 

 

To

Sherri R. Carter
District Court Executive
Clerk of Court, Assistant U.S. Attorney
United States District Court Criminal Division
Central District of California

 

 

The matter relating to the, referenced criminal action. cof |
United States v. octeens PeAlicano eA cA. , being filed on 2610S

-- was [ ]was not [ A pending in the United States Attorney's Office
before December 22, 1998, the date on which United States District Judge
Nora M. Manella began receiving criminal matters;

 

Assistant United States Attorney
Criminal Division

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